16-13607-smb   Doc 435-1 Filed 08/08/18 Entered 08/08/18 14:35:04   Exhibit A:
                    HMS Settlement Agreement Pg 1 of 8


                                 Exhibit A

                        HMS Settlement Agreement
16-13607-smb   Doc 435-1 Filed 08/08/18 Entered 08/08/18 14:35:04   Exhibit A:
                    HMS Settlement Agreement Pg 2 of 8
16-13607-smb   Doc 435-1 Filed 08/08/18 Entered 08/08/18 14:35:04   Exhibit A:
                    HMS Settlement Agreement Pg 3 of 8
16-13607-smb   Doc 435-1 Filed 08/08/18 Entered 08/08/18 14:35:04   Exhibit A:
                    HMS Settlement Agreement Pg 4 of 8
16-13607-smb   Doc 435-1 Filed 08/08/18 Entered 08/08/18 14:35:04   Exhibit A:
                    HMS Settlement Agreement Pg 5 of 8
16-13607-smb   Doc 435-1 Filed 08/08/18 Entered 08/08/18 14:35:04   Exhibit A:
                    HMS Settlement Agreement Pg 6 of 8
16-13607-smb   Doc 435-1 Filed 08/08/18 Entered 08/08/18 14:35:04   Exhibit A:
                    HMS Settlement Agreement Pg 7 of 8
16-13607-smb   Doc 435-1 Filed 08/08/18 Entered 08/08/18 14:35:04   Exhibit A:
                    HMS Settlement Agreement Pg 8 of 8
